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Non-Hodgkin Lymphoma Risk and Insecticide, Fungicide
and Fumigant Use in the Agricultural Health Study
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     Abstract
     Farming and pesticide use have previously been linked to non-Hodgkin lymphoma (NHL), chronic lymphocytic leukemia
     (CLL) and multiple myeloma (MM). We evaluated agricultural use of specific insecticides, fungicides, and fumigants and risk
     of NHL and NHL-subtypes (including CLL and MM) in a U.S.-based prospective cohort of farmers and commercial pesticide
     applicators. A total of 523 cases occurred among 54,306 pesticide applicators from enrollment (1993–97) through December
     31, 2011 in Iowa, and December 31, 2010 in North Carolina. Information on pesticide use, other agricultural exposures and
     other factors was obtained from questionnaires at enrollment and at follow-up approximately five years later (1999–2005).
     Information from questionnaires, monitoring, and the literature were used to create lifetime-days and intensity-weighted
     lifetime days of pesticide use, taking into account exposure-modifying factors. Poisson and polytomous models were used
     to calculate relative risks (RR) and 95% confidence intervals (CI) to evaluate associations between 26 pesticides and NHL and
     five NHL-subtypes, while adjusting for potential confounding factors. For total NHL, statistically significant positive
     exposure-response trends were seen with lindane and DDT. Terbufos was associated with total NHL in ever/never
     comparisons only. In subtype analyses, terbufos and DDT were associated with small cell lymphoma/chronic lymphocytic
     leukemia/marginal cell lymphoma, lindane and diazinon with follicular lymphoma, and permethrin with MM. However, tests
     of homogeneity did not show significant differences in exposure-response among NHL-subtypes for any pesticide. Because
     26 pesticides were evaluated for their association with NHL and its subtypes, some chance finding could have occurred. Our
     results showed pesticides from different chemical and functional classes were associated with an excess risk of NHL and NHL
     subtypes, but not all members of any single class of pesticides were associated with an elevated risk of NHL or NHL
     subtypes. These findings are among the first to suggest links between DDT, lindane, permethrin, diazinon and terbufos with
     NHL subtypes.

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Introduction                                                                            meta-analysis of 13 case-control studies published between 1993–
                                                                                        2005 observed an overall significant meta-odds ratio (OR) between
   Since the 1970s, epidemiologic studies of non-Hodgkin                                occupational exposure to pesticides and NHL (OR = 1.35; 95%
lymphoma (NHL) and multiple myeloma (MM) have shown                                     CI: 1.2–1.5) [11]. This risk was greater among individuals with
increased risk among farmers and associations with the type of                          more than 10 years of exposure (OR = 1.65; 95% CI: 1.08–1.95)
farming practiced [1–6]. While farmers are exposed to many                              [11], but the meta-analysis lacked details about the use of specific
agents that may be carcinogenic [7]; there has been a particular                        pesticides and other risk factors [11]. Although the International
focus on pesticides. Studies from around the world have suggested                       Agency for Research on Cancer (IARC) has classified ‘‘Occupa-
increased risk of NHL or MM [8,9] and other NHL subtypes [10]                           tional exposures in spraying and application of non-arsenical
in relation to the use of specific pesticides in different functional                   insecticides’’ as ‘‘probably carcinogenic to humans’’, the human
classes (i.e., insecticides, fungicides, fumigants and herbicides). A


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evidence for the 17 individual pesticides evaluated in this                  Carolina. In addition, we linked cohort members to state mortality
monograph was determined to be inadequate for nine and there                 registries of Iowa and North Carolina and the nation-wide
were no epidemiological studies for eight pesticides [12]. Since             National Death Index to determine vital status, and to the nation-
then, more studies have focused on cancer risk from specific                 wide address records of the Internal Revenue Service, state-wide
pesticides, although the information is still relatively limited for         motor vehicle registration files, and pesticide license registries of
many cancer-pesticide combinations [8,9].                                    state agricultural departments to determine residence in Iowa or
   To help fill the current information gap we evaluated the                 North Carolina. The current analysis included all incident primary
relationships between the use of specific insecticides, fungicides           NHL, as well as CLL and MM (which are now classified as NHL)
and fumigants and NHL in the Agricultural Health Study (AHS), a              [13] (n = 523) diagnosed from enrollment (1993–1997) through
prospective cohort of licensed private (i.e., mostly farmer) and             December 31, 2010 in North Carolina and from enrollment
commercial pesticide applicators. Because the etiology of NHL                (1993–1997) through December 31, 2011 in Iowa, the last date of
and its B and T cell subtypes may differ by cell type13, we also             complete cancer incidence reports in each state. We ended follow-
evaluated risk by subtype while controlling for potential con-               up and person-year accumulation at the date of diagnosis of any
founding factors suggested from the literature [13], and the AHS             cancer, death, movement out of state, or December 31, 2010 in
data.                                                                        North Carolina and December 31, 2011 in Iowa, whichever was
                                                                             earlier.
Novelty and Impact
   These findings on occupationally exposed pesticide applicators            Tumor Characteristics
with high quality exposure information are among the first to                   Information on tumor characteristics was obtained from state
suggest links between DDT, lindane, permethrin, diazinon and                 cancer registries. We followed the definition of NHL and six
terbufos and specific NHL subtypes in a prospective cohort study.            subtypes of NHL used by the Surveillance Epidemiology and End
                                                                             Results (SEER) coding scheme [16] which was based on the
Materials and Methods                                                        Pathology Working Group of the International Lymphoma
                                                                             Epidemiology Consortium (ICD-O-3 InterLymph modification)
Study Population                                                             classification (Table S1 in File S1, [17], i.e., 1. Small B-cell
   The AHS is a prospective cohort study of 52,394 licensed                  lymphocytic lymphomas (SLL)/chronic B-cell lymphocytic lym-
private pesticide applicators (mostly farmers) in Iowa and North             phomas (CLL)/mantle-cell lymphomas (MCL); 2. Diffuse large B-
Carolina and 4,916 licensed commercial applicators in Iowa                   cell lymphomas; 3. Follicular lymphomas; 4. ‘Other B-cell
(individuals paid to apply pesticides to farms, homes, lawns, etc.),         lymphomas’ consisting of a diverse set of B-cell lymphomas; 5.
and 32,346 spouses of private applicators. Only applicators are              Multiple myeloma; and 6. T-cell NHL and undefined cell type).
included in this analysis. The cohort has been previously described          There were too few T-cell NHL cases available for analysis
in detail [14,15] and study questionnaires are available on the              [n = 19] so this cell type was not included in the subtype analysis).
AHS website (www.aghealth.nih.gov). Briefly, individuals seeking             The ICD-O-3 original definition (used in many earlier studies of
licenses to apply restricted use pesticides were enrolled in the study       pesticides and cancer) of NHL [18] was also evaluated in relation
from December 1993 through December 1997 (82% of the target                  to pesticide exposure to allow a clearer comparison of our results
population enrolled). At enrollment, subjects did not sign a written         with previous studies.
informed consent form. However, the cover letter of the
questionnaire booklet informed subjects of the voluntary nature              Exposure Assessment
of participation, the ability to not answer any question, and it                 Initial information on lifetime use of 50 specific pesticides (Table
provided an assurance of confidentiality (including a Privacy Act            S2 in File S1), including 22 insecticides, 6 fungicides and 4
Notification statement). The letter also included a written                  fumigants was obtained from two self-administered questionnaires
summary of the purpose of research, time involved, benefits of               [14,15] completed during cohort enrollment (Phase 1). All 57,310
research, and a contact for questions about the research. The                applicators completed the first enrollment questionnaire, which
cover letter to the take-home questionnaire included all of the              inquired about ever/never use of 50 pesticides, as well as duration
above and also informed the participant that they had the right to           (years) and frequency (average days/year) of use for a subset of 22
withdraw at any time. Finally, subjects were specifically informed           pesticides including 9 insecticides, 2 fungicides and 1 fumigant. In
that their contact information (including Social Security Number)            addition, 25,291 (44%) of the applicators returned the second
would be used to search health and vital records in the future. The          (take-home) questionnaire, which inquired about duration and
participants provided consent by completing and returning the                frequency of use for the remaining 28 pesticides, including 13
questionnaire booklet. These documents and procedures were                   insecticides, 4 fungicides and 3 fumigants.
approved in 1993 by all relevant institutional review boards (i.e.,              A follow-up questionnaire, which ascertained pesticide use since
National Cancer Institute Special Studies Institutional Review               enrollment, was administered approximately 5 years after enroll-
Board, Westat Institutional Review Board, and the University of              ment (1999–2005, Phase 2) and completed by 36,342 (63%) of the
Iowa Institutional Review Board-01).                                         original participants. The full text of the questionnaires is available
   Excluded from this analysis were study participants who had a             at www.aghealth.nih.gov. For participants who did not complete
history of any cancer at the time of enrollment (n = 1094),                  the Phase 2 questionnaire (20,968 applicators, 37%), a data-driven
individuals who sought pesticide registration in Iowa or North               multiple imputation procedure which used logistic regression and
Carolina but did not live in these states at the time of registration        stratified sampling [19] was employed to impute use of specific
(n = 341) and were thus outside the catchment area of these cancer           pesticides in Phase 2. Information on pesticide use from Phase 1,
registries and individuals that were missing information on                  Phase 2 and imputation for Phase 2 was used to construct three
potential confounders (i.e., race or total herbicides application            cumulative exposure metrics: (i) lifetime days of pesticide use (i.e.,
days [n = 1,569]). This resulted in an analysis sample of 54,306.            the product of years of use of a specific pesticide and the number
We obtained cancer incidence information by regular linkage to               of days used per year); (ii) intensity-weighted lifetime days of use
the population-based cancer registry files in Iowa and North                 (i.e., the product of lifetime days of use and a measure of exposure


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intensity) and (iii) ever/never use data for each pesticide. Intensity            Poisson models were fit using the GENMOD procedure and
was derived from an exposure-algorithm, which was based on                    polytomous logit models were fit using the LOGISTIC procedure
exposure measurements from the literature and individual                      of the SAS 9.2 statistical software package (SAS Institute, Cary,
information on pesticide use and practices (e.g., whether or not              NC). Summary estimates of NHL and NHL subtype risks for both
they mixed pesticides, application method, whether or not they                Poisson models and polytomous logit models incorporated
repaired equipment and use of personal protective equipment)                  imputed data and were calculated along with standard error
obtained from questionnaires completed by study participants                  estimates, confidence intervals, and p-values, using multiple
[20].                                                                         imputation methods implemented in the MIANALYZE procedure
                                                                              of SAS 9.2.
Statistical Analyses                                                              We also evaluated the impact of the additional pesticide
    We divided follow-up time into 2-year intervals to accumulate             exposure information imputed for Phase 2 on risk estimates. We
person-time and update time-varying factors, such as attained age             compared risk estimates for those who completed both the phase 1
and pesticide use. We fit Poisson models to estimate rate ratios              enrollment and take-home questionnaires and the phase 2
(RRs) and 95% confidence intervals (95% CI) to evaluate the                   questionnaires (n = 17,545) with risk estimates obtained from the
effects of pesticide use on rates of overall NHL and the five NHL             combined completed questionnaire data plus the imputed phase 2
subtypes.                                                                     data (n = 54,306). We also explored the effect of lagging exposure
    We evaluated pesticides with 15 or more exposed cases of total            data 5 years because recent exposures may not have had time to
NHL, thereby excluding aluminum phosphide, carbon tetrachlo-                  have an impact on cancer development. For comparison to
ride/carbon disulfide, ethylene dibromide, trichlorfon, and ziram             previous studies, we also assessed the exposure-response associa-
leaving 26 insecticides, fungicides and fumigants for analysis                tion for NHL using the original ICD-O-3 definition of NHL [18]
(permethrin for animal use and crop use were combined into one                and the new definition [16] in Table S3 in File S1. Unless
category, all insecticides, fungicides and fumigants are listed in            otherwise specified, reported results show un-lagged exposure
Table S2 in File S1). For each pesticide, we evaluated ever vs.               information from both Phase 1 and Phase 2 including Phase 2
never exposure, as well as tertiles of exposure which were created            imputed data for lifetime exposure-days and intensity-weighted
based on the distribution of all NHL exposed cases and compared               lifetime days of use and NHL defined by the InterLymph
to those unexposed. In the NHL subtype analysis and in                        modification of ICD-O-3 [17]. Data were obtained from AHS
circumstances where multiple pesticides were included in the                  data release versions P1REL201005.00 (for Phase 1) and
model we categorized exposure for each pesticide into unexposed               P2REL201007.00 (for Phase 2).
(i.e., never users) and two exposed groups (i.e., low and high)
separated at the median exposure level. The number of exposed                 Results
cases included in the ever/never analysis and in the trend analysis
can differ because of the lack of information necessary to construct             The 54,306 applicators in this analysis contributed 803,140
quantitative exposure metrics for some individuals.                           person-years of follow-up from enrollment through December 31,
    Several lifestyle and demographic factors associated with NHL             2010 in North Carolina and December 31, 2011 in Iowa
in the AHS cohort or previously suggested as possible confounders             (Table 1). During this period, there were 523 incident cases of
in the NHL literature13 were evaluated as potential confounders in            NHL, including 148 SLL/CLL/MCL, 117 diffuse large B-cell
this analysis. These included: age at enrollment, gender, race,               lymphomas, 67 follicular lymphomas, 53 ‘other B-cell lymphomas’
state, license type, education, autoimmune diseases, family history           (consisting of a diverse set of B-cell lymphomas) and 97 cases of
of lymphoma in first-degree relatives, body mass index, height,               MM. Another 41 cases consisting of T-cell lymphomas (n = 19)
cigarette smoking history, alcohol consumption per week and                   and non-Hodgkin lymphoma of unknown lineage (n = 22) were
several occupational exposures1–13 including number of livestock,             excluded from cell type-specific analyses because of small numbers
cattle, poultry, whether they raised poultry, hogs or sheep, whether          of cases with identified cell types. Between enrollment and the end
they provided veterinary services to their animals, number of acres           of follow-up, 6,195 individuals were diagnosed with an incident
planted, welding, diesel engine use, number of years lived on the             cancer other than NHL, 4,619 died without a record of cancer in
farm, total days of any pesticide use, and total days of herbicide            the registry data, and 1,248 cohort members left the state and
use. However, since most of these variables did not change the risk           could not be followed-up for cancer. Person-years of follow-up
estimates for specific pesticides, we present results adjusted for age,       accumulated for all of these study participants after enrollment
race, state and total days of herbicide use, which impacted risk              until they were censored for the incident cancer, death or moving
estimates by more than 10% for some subtypes. We also                         out of the state (data not shown). The risk of NHL increased
performed analyses adjusting for specific insecticides, fungicides            significantly and monotonically with age in the AHS cohort in this
and fumigants shown to be associated with NHL or a specific                   analysis (p = 0.001) and age-adjusted risks were significant for state
NHL subtype in the current analysis. Tests for trend used the                 and NHL overall and race for multiple myeloma (data not shown).
median value of each exposure category. All tests were two-sided              Total days of herbicide use had a small but significant effect on the
and conducted at a = 0.05 level. Analysis by NHL subtype was                  risk of some NHL subtypes, but not on NHL overall. No other
limited to insecticides, fungicides, and fumigants with 6 or more             demographic or occupational factors showed evidence of con-
exposed cases.                                                                founding so they were not included in the final models.
    We also fit polytomous logit models, where the dependent                     In Table 2 we present ever/never results for 26 insecticides,
variable was a five-level variable (i.e., five NHL subtypes) and a            fungicides and fumigants by total NHL and by NHL subtype
baseline level (i.e., no NHL) to estimate exposure-response odds              adjusted for age, race, state and herbicide use (total life-time days).
ratios (ORs) and 95% confidence intervals (CIs) for each subtypes             Terbufos was the only pesticide associated with an increased risk of
of NHL. We then used polytomous logit models to estimate                      total NHL in the ever/never use analysis (RR = 1.2 [1.0–1.5]),
exposure-response trend while adjusting for age, state, race and              although the trend for increasing use and risk of total NHL was
total days of herbicide use, as in the Poisson models, and tested             not significant (p trend = 0.43) (Table 3). In contrast, there were a
homogeneity among the 5 NHL subtypes.                                         few chemicals that were not associated with ever/never use, but


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 Table 1. Baseline characteristics of AHS study participants in the NHL incidence analysis1,2.


 Variables                                                                          All NHL cases (%)                    Cohort Person-years.

 Age at Enrollment
 ,45                                                                                84 (16.1)                            426,288
 45–49                                                                              51 (9.8)                             101,018
 50–54                                                                              75 (14.3)                            84,998
 55–59                                                                              90 17.2)                             74,440
 60–64                                                                              78 (14.9)                            56,978
 65–69                                                                              79 (15.1)                            35,071
 $70                                                                                66 (12.6)                            24,347
 Race
 White                                                                              509 (97.3)                           787,799
 Black                                                                              14 (2.7)                             15,341
 State
 IA                                                                                 332 (63.5)                           537,252
 NC                                                                                 191 (36.5)                           265,888
 Lifetime Total Herbicide Exposure Days
 0–146 days                                                                         170 (32.5)                           251,401
 147–543 days                                                                       169 (32.3)                           273,107
 544–2453 days                                                                      184 (35.2)                           278,632

 1
  During the period from enrollment (1993–1997) to December 31, 2010 in NC and December 31, 2011 in Iowa.
 2
  Individuals with missing ever/never exposure information or missing confounding variable information were not included in the table.
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did show evidence of an exposure-response association. Lindane                     (0.5–1.8), 2.6 (1.3–4.8; p trend = 0.04); and diazinon with follicular
was the only pesticide that showed a statistically significant                     lymphoma (RR = 1.0 (ref), 2.2 (0.9–5.4), 3.8 (1.2–11.4); p
increasing trend in risk for NHL with both exposure metrics, for                   trend = 0.02) (Table 4).
lifetime-days of lindane use the RR were = 1.0 (ref), 1.2 (0.7–1.9),                  The pattern of increased CLL/SLL/MCL risk with increased
1.0 (0.6–1.7), 2.5 (1.4–4.4); p trend = 0.004 and intensity-weighted               use of DDT and terbufos remained after both insecticides were
lifetime-days of use the: RR were: = 1.0 (ref), 1.3 (0.8–2.2), 1.1                 placed in our model concurrently. CLL/SLL/MCL risk increased
(0.7–1.8), 1.8 (1.0–3.2); p trend = 0.04. DDT showed a significant                 with DDT use (RR = 1.0 (ref), 0.9 (0.5–4.7); 2.4 (1.1–4.7); p
trend for NHL risk with life-time days of use RR = 1.0 (ref), 1.3                  trend = 0.04), and a pattern of increased CLL/SLL/MCL risk was
(0.9–1.8), 1.1 (0.7–1.7), 1.7 (1.1–2.6); p trend = 0.02, while the                 also observed with terbufos use (RR = 1.0 (ref), 1.1 (0.6–2.1), 1.7
intensity weighted lifetime days of use of DDT was of borderline                   (0.9–3.3) p trend = 0.07), although the trend was not significant for
significance: RR = 1.0 (ref), 1.2 (0.8–1.8), 1.1 (0.8–1.7), 1.6 (1.0–              terbufos. Similarly, the pattern of increased follicular lymphoma
2.3); p trend = 0.06. The number of lifetime days of use of lindane                risk with lindane use and diazinon use remained after both
and DDT was weakly correlated (coefficient of determina-                           insecticides were placed in our model concurrently. Follicular
tion = 0.04), and the pattern of NHL risk showed little change                     lymphoma risk increased with diazinon use (RR = 1.0 (ref), 4.1
when both were included in the model. The results for lindane                      (1.5–11.1); 2.5 (0.9–7.2); p trend = 0.09), and a similarly, pattern of
adjusted for DDT were, RR = 1.0 (ref), 1.2 (0.7–2.0), 1.0 (0.5–1.8),               increased follicular lymphoma risk was observed with lindane use
1.6 (0.9–3.3); p trend = 0.07 and the results for DDT adjusted for                 (RR = 1.0 (ref), 1.6 (0.6–4.1), 2.6 (0.8–8.3) p trend = 0.09),
lindane were, RR = 1.0 (ref), 1.3 (0.9–2.0), 0.9 (0.6–1.6), 1.6 (0.9–              although neither remained statistically significant (Table 4).
2.6); p trend = 0.08).                                                                Three chemicals showed elevated risks in ever/never analyses
    We also evaluated pesticides by NHL sub-type. In the ever/                     for certain subtypes, with no apparent pattern in exposure-
never analyses (Table 2), permethrin was significantly associated                  response analyses: metalaxyl and chlordane with SLL/CLL/
with multiple myeloma, RR = 2.2 (1.4–3.5) and also demonstrated                    MCL, RR = 1.6 (1.0–2.5) and RR = 1.4 (0.97–2.0) respectively,
an exposure-response trend (RR = 1.0 (ref), 1.4 (0.8–2.7), 3.1 (1.5–               and methyl bromide with diffuse large B-cell lymphoma RR = 1.9
6.2); p trend = 0.002) (Table 4). Similarly, there was an elevated                 (1.1–3.3). Although there was evidence of association by subtype,
risk of SLL/CLL/MCL with terbufos in ever/never analyses                           and polytomous logit models indicated homogeneity across
RR = 1.4 (0.97–2.0) and an exposure response trend (RR = 1.0                       subtypes for lindane (p = 0.54), DDT (p = 0.44) and any other
(ref), 1.3 (0.8–2.0), 1.6 (1.0–2.5); p trend = 0.05). For follicular               pesticide evaluated in this study (e.g., permethrin (p = 0.10),
lymphoma, lindane showed an elevated but non-significant                           diazinon (p = 0.09), terbufos (p = 0.63), (last column in Table 4).
association for ever use, RR = 1.7 (0.96–3.2) and a significant                       There was no evidence of confounding of the total NHL
exposure-response association (RR = 1.0 (ref), 4.9 (1.9–12.6), 3.6                 associations with either lindane or DDT. We also calculated RR
(1.4–9.5); p trend = 0.04). There were also two chemicals with                     for those who completed both the phase 1 enrollment and take-
evidence of exposure-response that were not associated with                        home questionnaires and the phase 2 questionnaire (n = 17,545)
specific subtypes in the ever/never analyses: DDT (Dichlorodi-                     and found no meaningful difference in the RR that also included
phenyltrichloroethane) with SLL/CLL/MCL (RR = 1.0 (ref), 1.0                       imputed exposures, although there was an increase in precision of


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                                               Table 2. Pesticides exposure (ever/never) and adjusted Relative Risk of total NHL and NHL Subtype1.


                                               Insecticide

                                                                                                                                     Diffuse Large B-Cell      Follicular B-Cell
                                                                                  Total NHL Cases2         SLL/CLL/MCL Cases2        Cases2                    Cases2                     Other B-cell Cases2       Multiple Myeloma Cases2

                                               Pesticide                          Ever/Never               Ever/Never                Ever/Never                Ever/Never                 Ever/Never                Ever/Never
                                               (chemical-functional class)        Exposed      RR3,4       Exposed      RR3,4        Exposed       RR3,4       Exposed        RR3,4       Exposed      RR3,4        Exposed       RR3,4




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                                                                                               (95% CI)                 (95% CI)                   (95% CI)                   (95% CI)                 (95% CI)                   (95% CI)

                                               Aldicarb                           47/435       1           14/124       1.1          8/98          0.7         6/54           0.9         7/41         1.6          10/82         1.2
                                               (carbamate-insecticide)                         (0.7–1.4)                (0.6–1.8)                  (0.4–1.5)                  (0.3–2.2)                (0.7–3.5)                  (0.6–2.2)
                                               Carbofuran                         147/317      1.1         48/86        1.2          26/78         0.8         18/39          1           13/31        0.8          31/56         1.3
                                               (carbamate-insecticide)                         (0.9–1.3)                (0.8–1.8)                  (0.5–1.3)                  (0.5–1.7)                (0.4–1.6)                  (0.8–2.1)
                                               Carbaryl                           272/225      1           75/66        1            58/53         0.8         37/24          0.8         24/28        0.9          58/34         0.9
                                               (carbamate-insecticide)                         (0.8–1.2)                (0.7–1.5)                  (0.5–1.3)                  (0.5–1.3)                (0.5–1.6)                  (0.6–1.4)
                                               Chlorpyrifos                       210/300      1           62/84        1            44/70         0.9         32/33          1.3         21/31        0.8          36/58         1
                                               (organophosphate-insecticide)                   (0.8–1.2)                (0.7–1.4)                  (0.6–1.4)                  (0.8–2.2)                (0.5–1.5)                  (0.6–1.5)
                                               Coumaphos                          46/411       1.1         15/120       1.2          10/93         1           8/48           1.6         5/40         xxx          7/78          1
                                               (organophos-phate-insecticide)                  (0.8–1.5)                (0.7–2.1)                  (0.5–2.1)                  (0.8–3.5)                                           (0.1–2.1)
                                               DDVP                               55/407       1.1         13/124       0.8          10/93         1           8/48           1.3         6/39         1            12/73         1.7




5
                                               (dimethyl phosphate-insecticide)                (0.8–1.5)                (0.5–1.5)                  (0.5–1.9)                  (0.6–2.7)                (0.4–2.4)                  (0.9–3.2)
                                               Diazinon                           144/342      1           46/93        1.3          30/78         0.9         22/38          1.3         12/37        0.8          27/64         1
                                               (organophosphorous-insecticide)                 (0.8–1.3)                (0.9–1.9)                  (0.6–1.4)                  (0.7–2.3)                (0.4–1.6)                  (0.6–1.6)
                                               Fonofos                            115/349      1.1         35/100       1.1          25/81         1.2         13/45          0.9         15/30        1.3          19/66         1.3
                                               (organophosphorous-insecticide)                 (0.9–1.4)                (0.7–1.6)                  (0.7–1.9)                  (0.5–1.7)                (0.7–2.5)                  (0.8–2.3)
                                               Malathion                          332/163      0.9         99/43        1            72/37         0.9         46/14          1.3         30/21        0.6          61/32         0.9
                                               (organophosphorous-insecticide)                 (0.8–1.1)                (0.7–1.4)                  (0.6–1.4)                  (0.7–2.4)                (0.3–1.0)                  (0.6–1.5)
                                               Parathion (ethyl or methyl)        69/411       1.1         20/117       1            14/91         1           10/48          1.1         7/44         1.1          14/77         1
                                               (organophosphorous insecticide                  (0.8–1.4)                (0.7–1.4)                  (0.6–1.4)                  (0.8–1.5)                (0.7–1.5)                  (0.8–1.5)
                                               Permethrin                         112/363      1.1         32/106       1            18/81         0.7         18/81          1.1         9/14         0.8          20/72         2.2
                                               (animal and crop applications)
                                               (pyrethroid insecticide)                        (0.8–1.3)                (0.6–1.5)                  (0.4–1.2)                  (0.6–2.0)                (0.4–1.6)                  (1.4–3.5)
                                               Phorate                            160/325      1           53/87        1.1          31/76         0.9         20/40          0.9         19/31        0.9          26/64         1
                                               (organophosphorous-insecticide)                 (0.8–1.2)                (0.8–1.6)                  (0.5–1.3)                  (0.5–1.6)                (0.5–1.6)                  (0.6–1.7)
                                               Terbufos                           201/267      1.2         64/72        1.4          42/63         1.1         31/26          1.2         26/19        1.8          32/59         1.2
                                               (organophosphorous-insecticide)                 (1.0–1.5)                (0.97–2.0)                 (0.7–1.7)                  (0.7–2.1)                (0.94–3.2)                 (0.7–1.9)
                                                                                                                                                                                                                                                                                     Case 3:16-md-02741-VC Document 653-16 Filed 10/28/17 Page 6 of 18




                                               Chlorinated Insecticides
                                               Aldrin                             116/364      0.9         53/99        0.9          15/91         0.8         13/45          0.8         12/37        0.6          29/62         1.5
                                               (chlorinated insecticide)                       (0.7–1.1)                (0.6–1.4)                  (0.4–1.6)                  (0.4–1.6)                (0.3–1.3)                  (0.9–2.5)
                                               Chlordane                          136/344      1           49/90        1.4          20/86         0.6         18/41          1.2         13/36        1            31/60         1.2




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                                               (chlorinated insecticide)                       (0.8–1.3)                (0.99–2.1)                 (0.4–1.0)                  (0.7–2.1)                (0.7–2.0)                  (0.8–1.9)
                                               DDT                                182/300      1           59/79        1.2          34/73         0.8         18/41          0.9         20/31        1.1          40/50         1.1
                                               Table 2. Cont.


                                               Insecticide

                                                                                                                                                    Diffuse Large B-Cell           Follicular B-Cell
                                                                                        Total NHL Cases2              SLL/CLL/MCL Cases2            Cases2                         Cases2                        Other B-cell Cases2           Multiple Myeloma Cases2

                                               Pesticide                                Ever/Never                    Ever/Never                    Ever/Never                     Ever/Never                    Ever/Never                    Ever/Never
                                               (chemical-functional class)              Exposed         RR3,4         Exposed         RR3,4         Exposed          RR3,4         Exposed         RR3,4         Exposed         RR3,4         Exposed           RR3,4




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                                                                                                        (95% CI)                      (95% CI)                       (95% CI)                      (95% CI)                      (95% CI)                        (95% CI)

                                               (chlorinated insecticide)                                (0.8–1.3)                     (0.8–1.8)                      (0.5–1.3)                     (0.5–1.6)                     (0.6–2.1)                       (0.7–1.8)
                                               Dieldrin                                 35/442          0.9           5/130           xxx           4/101            xxx           4/54            xxx           7/42            1             10/81             0.9
                                               (chlorinated insecticide)                                (0.6–1.2)                                                                                                                (0.7–2.0)                       (0.5–1.4)
                                               Heptachlor                               90/384          1             33/104          1.1           10/95            1.1           9/48            1.1           13/36           0.9           17/72             1.1
                                               (chlorinated insecticide)                                (0.7–1.2)                     (0.7–3.0)                      (0.3–3.1)                     (0.5–3.2)                     (0.5–2.7))                      (0.6–2.0)
                                               Lindane                                  85/396          1             27/113          1.2           12/95            0.6           16/41           1.7           9/40            0.7           13/73             1.1
                                               (chlorinated insecticide)                                (0.8–1.2)                     (0.6–1.5)                      (0.3–1.1)                     (0.96–3.2)                    (0.4–1.2)                       (0.5–2.0)
                                               Toxaphene                                79/397          1             21/116          0.9           14/90            0.8           9/47            1             10/40           1.1           19/73             1.1
                                               (chlorinated insecticide)                                (0.7–1.2)                     (0.5–1.5)                      (0.4–1.4)                     (0.6–2.0)                     (0.6–2.0)                       (0.6–1.9)
                                               Fungicides
                                               Benomyl                                  54/428          1.1           18/123          1.2           12/95            1.1           4/51            xxx           4/51            xxx           11/80             1.1




6
                                               (carbamate fungicide)                                    (0.8–1.5)                     (0.7–2.0)                      (0.6–1.9)                                                                                   (0.6–2.0)
                                               Captan                                   60/406          1.1           18/118          1.1           12/91            0.9           5/51            xxx           6/39            1.1           12/76             1.2
                                               (phthalimide fungicide)                                  (0.8–1.4)                     (0.6–1.8)                      (0.5–1.8)                                                   (0.5–2.7)                       (0.6–2.2)
                                               Chloro-thalonil                          35/474          0.8           9/135           0.9           6/107            0.5           5/60            xxx           2/50            xxx           11/84             1.2
                                               (poly-chlorinated aromatic                               (0.5–1.2)                     (0.4–1.9)                      (0.2–1.3)                                                                                   (0.6–2.3)
                                               thalonitrile fungicide)
                                               Maneb/                                   44/437          0.9           13/127          1.1           12/95            1.1           4/60            xxx           5/49            xxx           10/79             0.8
                                               Mancozeb                                                 (0.7–1.3)                     (0.6–2.1)                      (0.6–2.1)                                                                                   (0.4–1.7)
                                               (dithiocarbamate fungicide)
                                               Metalaxyl                                108/381         1             34/106          1.6           27/82            1.1           10/48           0.7           10/40           0.9           21/71             0.8
                                               (acylalanine fungicide)                                  (0.8–1.3)                     (1.0–2.5)                      (0.6–1.8)                     (0.4–1.4)                     (0.4–1.7)                       (0.4–1.3)
                                               Fumigant
                                               Methyl bromide                           85/425          1.1           18/126          0.9           28/86            1.9           7/58            0.6           8/44            2.2           19/76             1
                                               (methyl halide fumigant)                                 (0.9–1.5)                     (0.5–1.7)                      (1.1–3.3)                     (0.2–1.4)                     (0.9–5.7)                       (0.6–1.8)

                                               1
                                                During the period from enrollment (1993–1997) to December 31, 2010 in NC and December 31, 2011 in Iowa.
                                               2
                                                Numbers of cases by NHL subtype do not sum to total number of NHL cases (n = 523) due to missing data.
                                               3
                                                                                                                                                                                                                                                                                                                              Case 3:16-md-02741-VC Document 653-16 Filed 10/28/17 Page 7 of 18




                                                Adjusted RR: age (,45, 45–49, 50–54, 55–59, 60–64, 65–69, $70), State (NC vs. IA), Race (White vs. Black), AHS herbicides (tertiles of total herbicide use-days). Statistically significant RR and 95% confidence limits are bolded.
                                               4
                                                RR was not calculated if the number of exposed cases in a pesticide-NHL subtype cell was ,6 and the missing RR was marked with an XXX. Statistically significant RRs and 95% confidence limits are bolded.
                                               doi:10.1371/journal.pone.0109332.t002




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                                                                                                    Pesticides and Non-Hodgkins Lymphoma



 Table 3. Pesticide exposure (lifetime-days & intensity weighted life-time days) and adjusted risks of total NHL incidence1.


 Insecticides

                                                                   RR3,4 (95% CI) by
 Pesticide                                                         Total Days of
 (chemical-functional class)             NHL Cases2   Non-Cases2   Exposure             NHL        Non-Cases     RR3,4 (95% CI)

 [days of lifetime exposure for                                                                                  Intensity-weighted
 each category]                                                                         Cases2,                  days of exposure

 Aldicarb (carbamate-insecticide)
 None                                    238          21557        1.0 (ref)            238        21557         1.0 (ref)
 Low [#8.75]                             7            633          1.1 (0.5–2.3)        6          383           1.3 (0.6–3.3))
 Medium [.8.75–25.5]                     5            522          0.9 (0.3–2.5)        6          853           0.9 (0.4–1.9)
 High [.25.5–224.75]                     5            1266         0.5 (0.2–1.3)        5          1183          0.5 (0.2–1.3)
                                                                   P trend = 0.23                                P trend = 0.22
 Carbofuran (carbamate-insecticide)
 None                                    317          36296        1.0 (ref)            317        36296         1.0 (ref)
 Low [#8.75]                             63           4775         1.2 (0.9–1.6)        46         3695          1.2 (0.9–1.6)
 Medium [.8.75–38.75]                    32           3648         0.8 (0.6–1.2)        46         4590          1.0 (0.7–1.3)
 High [.38.75–767.25]                    44           4370         0.97 (0.7–1.4)       45         4477          1.0 (0.7–1.4)
                                                                   P trend = 0.69                                P trend = 0.74
 Carbaryl (carbamate-insecticide)
 None                                    128          12864        1.0 (ref)            128        12864         1.0 (ref)
 Low [#8.75]                             54           4128         1.1 (0.7–1.6)        46         3962          1.0 (0.7–1.5)
 Medium [8.75–56]                        43           5096         0.9 (0.6–1.2)        45         4433          0.9 (0.7–1.5)
 High [.56–737.5]                        39           3281         1.0 (0.7–1.6)        44         4029          1.0 (0.6–1.5)
                                                                   P trend = 0.87                                P trend = 0.94
 Chlorpyrifos (organophosphate-
 insecticide)
 None                                    300          30393        1.0 (ref)            300        30393         1.0 (ref)
 Low [#8.75]                             71           6493         1.1 (0.9–1.5)        61         6383          1.1 (0.8–1.4)
 Medium [.8.75–44]                       65           6892         1.1 (0.8–1.4)        60         7549          0.9 (0.7–1.2)
 High [.44–767.25]                       67           9380         0.8 (0.6–1.1)        60         7044          1.0 (0.7–1.3)
                                                                   P trend = 0.11                                P trend = 0.85
 Coumaphos (organophosphate-
 insecticide)
 None                                    411          44846        1.0 (ref)            411        44846         1.0 (ref)
 Low [,8.75]                             16           1510         1.0 (0.6–1.7)        15         1132          1.3 (0.8–2.1)
 Medium [.8.75–38.75]                    14           1076         1.2 (0.7–2.1)        14         1452          1.0 (0.6–1.6)
 High [.38.75–1627.5]                    13           1175         1.2 (0.7–2.0)        14         1170          1.2 (0.7–2.1)
                                                                   P for trend = 0.50                            P trend = 0.48
 DDVP (dimethyl phosphate-insecticide)
 None                                    407          44551        1.0 (ref)            407        44551         1.0 (ref)
 Low [#8.75]                             19           1342         1.4 (0.9–2.1)        18         1281          1.4 (0.9–2.3)
 Medium [.8.75–87.5]                     17           1519         1.2 (0.7–1.9)        18         1633          1.1 (0.7–1.8)
 High [.87.5–2677.5]                     17           1893         0.9 (0.6–1.5)        17         1824          1.0 (0.6–1.6)
                                                                   P trend = 0.78                                P trend = 0.83
 Diazinon (organophosphorous-
 insecticide)
 None                                    187          17943        1.0 (ref)            187        17943         1.0 (ref)
 Low [#8.75]                             28           2506         1.1 (0.7–1.6)        23         2047          1.1 (0.7–1.8)
 Medium [.8.75–25]                       19           1515         1.0 (0.6–1.8)        24         2246          0.9 (0.5–1.5)
 High [.25–457.25]                       23           1990         1.2 (0.7–1.9)        22         1708          1.3 (0.8–2.1)
                                                                   P trend = 0.52                                P trend = 0.33




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 Table 3. Cont.


 Insecticides

                                                                     RR3,4 (95% CI) by
 Pesticide                                                           Total Days of
 (chemical-functional class)               NHL Cases2   Non-Cases2   Exposure            NHL        Non-Cases     RR3,4 (95% CI)

 [days of lifetime exposure for                                                                                   Intensity-weighted
 each category]                                                                          Cases2,                  days of exposure

 Fonofos (organophosphorous-insecticide)
 None                                      349          39570        1.0 (ref)           349        39570         1.0 (ref)
 Low [#20]                                 47           3812         1.3 (0.96–1.8)      37         2906          1.4 (0.97–1.9)
 Medium [.20–50.75]                        28           2819         1.1 (0.7–1.6)       38         3487          1.1 (0.8–1.6)
 High [.50.75–369.75]                      37           3385         1.1 (0.7–1.5)       36         3606          1.0 (0.7–1.4)
                                                                     P trend = 0.83                               P trend = 0.87
 Malathion (organophosphorous-
 insecticide)
 None                                      90           8368         1.0 (ref)           90         8368          1.0 (ref)
 Low [#8.75]                               75           7284         0.97 (0.7–1.3)      60         5535          1.0 (0.7–1.4)
 Medium [.8.75–38.75]                      47           5779         0.7 (0.5–1.1)       59         6899          0.8 (0.6–1.1)
 High [.38.75–737.5]                       57           5037         0.9 (0.6–1.3)       59         5588          0.9 (0.6–1.2)
                                                                     P trend = 0.63                               P trend = 0.46
 Parathion (ethyl or methyl)
 (organophosphorous insecticide)
 None                                      228          21457        1.0 (ref)           228        21457         1.0 (ref)
 Low [#8.75]                               9            693          1.0 (0.5–2.0)       7          612           0.9 (0.4–2.0)
 Medium [.8.75–24.5]                       6            351          1.4 (0.6–3.2)       8          462           1.4 (0.7–2.9)
 High [..24.5–1237.5]                      6            652          0.8 (0.3–1.8)       6          621           0.8 (0.4–1.9)
                                                                     P trend = 0.64                               P trend = 0.74
 Permethrin
 (animal and crop applications)
 (pyrethroid insecticide)
 None                                      371          37496        1.0 (ref)           371        37496         1.0 (ref)
 Low [#8.75]                               38           4315         1.1 (0.8–1.5)       33         4263          0.9 (0.6–1.3)
 Medium [.8.75–50.75]                      31           4611         0.8 (0.5–1.2)       33         4200          1.0 (0.7–1.4)
 High [.50.75–1262.25]                     33           4121         1.2 (0.8–1.7)       32         4553          1.0 (0.7–1.5)
                                                                     P trend = 0.54                               P trend = 0.99
 Phorate (organophosphorous-insecticide)
 None                                      171          16834        1.0 (ref)           171        16834         1.0 (ref)
 Low [#8.75]                               27           2621         0.8 (0.5–1.2)       26         2320          0.9 (0.6–1.4)
 Medium [8.75–24.5]                        33           1819         1.4 (0.96–2.1)      27         1951          1.1 (0.7–1.7)
 High [.24.5–224.75]                       18           2246         0.6 (0.4–1.1)       25         2409          0.8 (0.5–1.3)
                                                                     P trend = 0.25                               P trend = 0.44
 Terbufos (organophosphorous-
 insecticide)
 None                                      267          31076        1.0 (ref)           267        31076         1.0 (ref)
 Low [#24.5]                               82           8410         1.2 (0.9–1.5)       64         6895          1.1 (0.9–1.5)
 Medium [.24.5–56]                         54           3925         1.6 (1.2–2.1)       64         4642          1.6 (1.2–2.2)
 High [.56–1627.5]                         57           6080         1.1 (0.8–1.5)       63         6842          1.1 (0.8–1.5)
                                                                     P trend = 0.43                               P trend = 0.44
 Chlorinated Insecticides
 Aldrin (chlorinated insecticide)
 None                                      193          19743        1.0 (ref)           193        19743         1.0 (ref)
 Low [#8.75]                               27           1613         0.9 (0.6–1.4)       20         1212          0.9 (0.6–1.4)
 Medium [.8.75–24.5]                       16           1002         0.8 (0.5–1.3)       20         1279          0.8 (0.5–1.3)




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 Table 3. Cont.


 Insecticides

                                                                  RR3,4 (95% CI) by
 Pesticide                                                        Total Days of
 (chemical-functional class)            NHL Cases2   Non-Cases2   Exposure            NHL        Non-Cases     RR3,4 (95% CI)

 [days of lifetime exposure for                                                                                Intensity-weighted
 each category]                                                                       Cases2,                  days of exposure

 High [.24.5–457.25]                    17           903          0.9 (0.5–1.5)       19         1026          0.9 (0.6–1.5)
                                                                  P trend = 0.58                               P trend = 0.74
 Chlordane (chlorinated insecticide)
 None                                   179          19115        1.0 (ref)           179        19115         1.0 (ref)
 Low [#8.75]                            47           2687         1.3 (0.97–1.9)      23         1303          1.4 (0.9–2.2)
 Medium5                                0            0            xxx                 24         1747          1.0 (0.6–1.5)
 High [.8.75–1600]                      23           1450         1.1 (0.7–1.7)       22         1085          1.4 (0.9–2.2)
                                                                  P trend = 0.43                               P trend = 0.16
 DDT (chlorinated insecticide)
 None                                   152          18543        1.0 (ref)           152        18543         1.0 (ref)
 Low [#8.75]                            43           2121         1.3 (0.9–1.8)       33         1601          1.2 (0.8–1.8)
 Medium [.8.75–56]                      28           1598         1.1 (0.7–1.7)       32         1760          1.1 (0.8–1.7)
 High [.56–1627.5]                      27           953          1.7 (1.1–2.6)       32         1305          1.6 (1.0–2.3)
                                                                  P trend = 0.02                               P trend = 0.06
 Dieldrin (chlorinated insecticide)
 None                                   235          22510        1.0 (ref)           235        22510         1.0 (ref)
 Low [#8.75]                            7            472          0.7 (0.3–1.5)       6          363           0.8 (0.4–1.8)
 Medium [.8.75–24.5]                    8            154          2.3 (1.1–4.7)       5          106           2.2 (0.9–5.3)
 High [.24.5–224.75]                    2            140          0.7 (0.2–2.9)       5          298           0.8 (0.3–2.0)
                                                                  P trend = 0.47                               P trend = 0.84
 Heptachlor (chlorinated insecticide)
 None                                   205          20844        1.0 (ref)           205        20844         1.0 (ref)
 Low [#8.75]                            21           1261         1.0 (0.6–1.6)       15         1110          0.8 (0.5–1.4)
 Medium [.8.75–24.5]                    18           679          1.5 (0.9–2.4)       16         425           2.0 (1.2–3.4)
 High [.24.5–457.25]                    7            600          0.7 (0.3–1.4)       14         1001          0.8 (0.5–1.4)
                                                                  P trend = 0.82                               P trend = 0.88
 Lindane (chlorinated insecticide)
 None                                   205          20375        1.0 (ref)           205        20375         1.0 (ref)
 Low [#8.75]                            18           1285         1.2 (0.7–1.9)       15         976           1.3 (0.8–2.2)
 Medium [.8.75–56]                      13           1103         1.0 (0.6–1.7)       16         1205          1.1 (0.7–1.8)
 High [.56–457.25]                      14           467          2.5 (1.4–4.4)       14         673           1.8 (1.0–3.2)
                                                                  P trend = 0.004                              P trend = 0.04
 Toxaphene (chlorinated insecticide)
 None                                   214          20911        1.0 (ref)           214        20911         1.0 (ref)
 Low [#8.75]                            14           1198         0.8 (0.5–1.4)       11         630           1.3 (0.7–2.3)
 Medium [.8.75–24.5]                    13           564          1.5 (0.9–2.7)       12         931           0.9 (0.5–1.6)
 High [.24.5–457.25]                    6            686          0.6 (0.3–1.4)       10         886           0.8 (0.4–1.5)
                                                                  P trend = 0.50                               P trend = 0.38
 Fungicides
 Benomyl (carbamate fungicide)
 None                                   219          21425        1.0 (ref)           219        21425         1.0 (ref)
 Low [#12.25]                           14           896          1.7 (0.9–2.9)       9          432           2.2 (1.1–4.3)
 Medium [.12.25–24.5]                   4            214          2.4 (0.9–6.6)       10         732           1.7 (0.9–3.2)




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 Table 3. Cont.


 Insecticides

                                                                                     RR3,4 (95% CI) by
 Pesticide                                                                           Total Days of
 (chemical-functional class)                       NHL Cases2        Non-Cases2      Exposure                    NHL         Non-Cases          RR3,4 (95% CI)

 [days of lifetime exposure for                                                                                                                 Intensity-weighted
 each category]                                                                                                  Cases2,                        days of exposure

 High [.24.5–457.25]                               8                 834             1.0 (0.5–2.1)               7           779                0.9 (0.4–2.0)
                                                                                     P trend = 0.93                                             P trend = 0.75
 Captan (phthalimide fungicide)
 None                                              407               43433           1.0 (ref)                   407         43433              1.0 (ref)
 Low [#0.25]                                       15                2334            0.8 (0.5–1.4)               15          2108               0.9 (0.6–1.5)
 Medium [.0.25–12.25]                              16                1004            1.5 (0.8–2.6)               15          1171               1.2 (0.7–2.2)
 High [.12.25–875]                                 14                1823            0.8 (0.5–1.5)               14          1805               0.8 (0.5–1.5)
                                                                                     P trend = 0.69                                             P trend = 0.52
 Chlorothalonil (polychlorinated aromatic
 thalonitrile fungicide)
 None                                              474               48442           1.0 (ref)                   474         48442              1.0 (ref)
 Low [#12.25]                                      13                1509            0.9 (0.5–1.6)               10          1800               0.6 (0.3–1.2)
 Medium [.12.25–64]                                9                 1492            0.8 (0.4–1.6)               11          1501               0.9 (0.5–1.7)
 High [.64–395.25]                                 9                 1678            0.6 (0.3–1.3)               9           1362               0.8 (0.4–1.6)
                                                                                     P trend = 0.16                                             PP trend = 0.52
 Maneb/Mancozeb (dithiocarbamate
 fungicide)
 None                                              228               21512           1.0 (ref)                   228         21512              1.0 (ref)
 Low [#7]                                          8                 400             1.9 (0.9–3.9)               8           486                1.6 (0.8–3.3)
 Medium [.7–103.25]                                9                 990             0.9 (0.4–1.7)               9           680                1.3 (0.6–2.6)
 High [.103.25–737.5]                              7                 454             1.4 (0.6–2.9)               7           677                0.9 (0.4–1.9)
                                                                                     P trend = 0.49                                             P trend = 0.78
 Metalaxyl (acylalanine fungicide)
 None                                              209               18833           1.0 (ref)                   209         18833              1.0 (ref)
 Low [#6]                                          16                1439            1.0 (0.6–1.8)               15          1079               1.3 (0.8–2.2)
 Medium [.6–28]                                    15                2182            0.7 (0.4–1.3)               15          2203               0.8 (0.4–1.3)
 High [.28–224.75]                                 13                1566            1.1 (0.6–2.1)               14          1893               0.9 (0.5–1.6)
                                                                                     P trend = 0.76                                             P trend = 0.63
 Fumigant
 Methyl bromide (methyl halide fumigant)
 None                                              425               45265           1.0 (ref)                   425         45265              1.0 (ref)
 Low [#8]                                          37                2060            2.0 (1.4–2.9)               26          1680               1.8 (1.2–2.7)
 Medium [.8–28]                                    24                3011            0.9 (0.6–1.4)               25          2501               1.1 (0.7–1.8)
 High [.28–387.5]                                  17                2768            0.6 (0.4–1.0)               25          3571               0.8 (0.5–1.2)
                                                                                     P trend = 0.04                                             P trend = 0.10

 1
   During the period from enrollment (1993–1997) to December 31, 2010 in NC and December 31, 2011 in Iowa.
 2
   Numbers of cases in columns do not sum to total number of NHL cases (n = 523) due to missing data. In the enrollment questionnaire, lifetime-days & intensity
 weighted life-time days of pesticide use was obtained for the insecticides: carbofuran, chlorpyrifos, coumaphos, DDVP, fonofos, permethrin and terbufos; the fungicides:
 captan, chlothalonil and the fumigant: methyl bromide. In the take home questionnaire lifetime-days & intensity weighted life-time days of pesticide use were obtained
 for the insecticides: aldicarb, carbaryl, diazinon, malathion, parathion, and phorate, the chlorinated insecticides: aldrin, chlordane, DDT, dieldrin, heptachlor, lindane, and
 toxaphene, the fungicides: benomyl, maneb/mancozeb and metalaxyl, therefore, numbers of NHL cases can vary among pesticides listed in the table.
 3
   Adjusted RR: age (,45, 45–49, 50–54, 55–59, 60–64, 65–69, $70), State (NC vs. IA), Race (White vs. Black), AHS herbicides (tertiles of total herbicide use-days).
 Statistically significant P trends are bolded.
 4
   Permethrin for animal use and crop use were combined into one category.
 5
   The distribution of life-time days of chlordane exposure was clumped into two exposed groups those who with, #8.75 life-time days of exposure and those with .8.75
 life-time days of exposure.
 doi:10.1371/journal.pone.0109332.t003




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 Table 4. Pesticide exposure (Lifetime-Days of Exposure) and adjusted risks for NHL Subtypes.


 Insecticides

                 SLL, CLL, MCL          Diffuse Large B-cell   Follicular B-cell         Other B-cell types          Multiple Myeloma

                 RR3,4                  RR3.4                  RR3,4                     RR3,4                       RR3,4
                 (95% CI)         N2    (95% CI)         N2    (95% CI)             N2   (95% CI)            N2      (95% CI)         N2   NHL subtype
                                                                                                                                           Homo-
                                                                                                                                           geneity

                                                                                                                                           Test

                                                                                                                                           (p-value)

 Carbaryl
 None            1.0 (ref)        42    1.0 (ref)        29    1.0 (ref)            11   1.0 (ref)           14      1.0 (ref)        22
 Low             1.1 (0.6–2.2)    19    0.8 (0.4–1.6)    17    1.6 (0.6–3.9)        10   1.8 (0.7–4.3)       10      0.7 (0.3–1.4)    14
 High            0.6 (0.3–1.3)    15    1.3 (0.6–2.8)    15    2.8 (1.0–7.4)        10   0.4 (0.1–1.5)       3       1.1 (0.7–1.8)    13
                 p trend = 0.16         p trend = 0.33         p trend = 0.06            p trend = 0.63              p trend = 0.98        0.19
 Carbofuran
 None            1.0 (ref)        87    1.0 (ref)        78    1.0 (ref)            39   1.0 (ref)           33      1.0 (ref)        56
 Low             1.1 (0.7–1.8)    28    0.9 (0.5–1.7)    13    1.3 (0.7–2.4)        15   0.8 (0.4–1.8)       8       1.9 ((1.1–3.3)   16
 High            1.5 (0.9–2.5)    19    0.8 (0.5–1.3)    13    0.4 (0.1–1.4)        3    0.7 (0.2–2.0)       4       0.9 (0.4–1.6)    12
                 p trend = 0.16         p trend = 0.37         p trend = 0.31            p trend = 0.46              p trend = 0.57        0.52
 Chlorpyrifos
 None            1.0 (ref)        84    1.0 (ref)        70    1.0 (ref)            33   1.0 (ref)           31      1 (ref)          58
 Low             1.2 (0.8–1.8)    31    0.9 (0.6–1.5)    22    1.6 (0.9–2.9)        20   1.2 (0.6–2.2)       14      1.0 (0.6–1.8)    17
 High            0.9 (0.6–1.3)    30    1.1 (0.6–1.7)    22    1.0 (0.5–2.1)        11   0.5 (0.2–1.3)       7       0.7 (0.4–1.3)    14
                 p trend = 0.45         p trend = 0.80         p trend = 0.94            p trend = 0.13              p trend = 0.27        0.90
 Coumaphos
 None            1.0 (ref)        120   1.0 (ref)        92    1.0 (ref)            48   1.0 (ref)           40      1.0 (ref)        78
 Low             1.1 (0.5–2.2)    8     0.7 (0.3–1.9)    4     2.1 (0.7–5.8)        4    xxx-                4       0.7 (0.2–2.2)    3
 High            1.5 (0.6–3.4)    6     1.6 (0.6–4.5)    4     1.4 (0.5–4.0)        4    xxx-                1       1.2 (0.4–4.0)    3
                 p trend = 0.35         p trend = 0.42         p trend = 0.47            p trend = xxx               p trend = 0.84        0.63
 Diazinon
 None            1.0 (ref)        53    1.0 (ref)        40    1.0 (ref)            15   1.0 (ref)           20      1.0 (ref)        41
 Low             1.4 (0.7–2.7)    14    1.5 (0.7–3.2)    9     2.2 (0.9–5.4)        8    xxx                 3       0.4 (0.1–1.2)    4
 High            1.9 (0.98–3.6) 12      1.1 (0.5–2.4)    8     3.8 (1.2–11.4)       7    xxx                 2       0.5 (0.2–1.7)    3
                 p trend = 0.06         p trend = 0.72         p trend = 0.02            p trend = xxx               p trend = 0.35        0.09
 DDVP
 None            1.0 (ref)        124   1.0 (ref)        93    1.0 (ref)            48   1.0 (ref)           39      1.0 (ref)        73
 Low             0.8 (0.4–1.9)    6     1.1 (0.4–2.7)    5     1.5 (0.6–3.9)        5    1.1 (0.4–3.7)       3       2.7 (1.2–5.8)    7
 High            0.7 (0.3–1.7)    6     0.9 (0.4–2.3)    5     1.0 (0.3–3.4)        3    0.9 (0.3–3.1)       3       1.0 (0.3–2.7)    4
                 p trend = 0.49         p trend = 0.87         p trend = 0.90            p trend = 0.91              p trend = 0.81        0.96
 Fonofos
 None            1.0 (ref)        100   1.0 (ref)        81    1.0 (ref)            45   1.0 (ref)           30      1.0 (ref)        66
 Low             1.2 (0.7–2.0)    20    1.2 (0.7–2.2)    13    1.5 (0.8–3.0)        11   1.4 (0.6–3.1)       8       1.2 (0.6–2.5)    9
 High            1.0 (0.6–1.8)    15    1.2 (0.6–2.3)    11    0.3 (0.1–1.2)        2    1.1 (0.4–2.7)       6       1.4 (0.7–3.0)    9
                 p trend = 0.96         p trend = 0.65         p trend = 0.19            p trend = 0.84              p trend = 0.33        0.35
 Malathion
 None            1.0 (ref)        27    1.0 (ref)        20    1.0 (ref)            6    1.0 (ref)           11      1.0 (ref)        17
 Low             0.7 (0.4–1.3)    29    0.96 (0.5–1.8)   23    1.0 (0.4–2.9)        12   1.0 (0.5–2.4)       11      1.0 (0.5–2.1)    18
 High            1.0 (0.6–1.8)    22    1.0 (0.5–2.0)    20    1.6 (0.6–4.4)        11   0.3 (0.1–0.8)       6       1.0 (0.5–2.0)    17
 Ever/Never      1.0 (0.7–1.4)          0.9 (0.6–1.4)          1.3 (0.7–2.4)             0.6 (0.3–1.0)               0.9 (0.6–1.5)
                 p trend = 0.65         p trend = 0.88         p trend = 0.25            p trend = 0.17              p trend = 0.86        0.33
 Permethrin




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 Table 4. Cont.


 Insecticides

                  SLL, CLL, MCL          Diffuse Large B-cell   Follicular B-cell         Other B-cell types          Multiple Myeloma

                  RR3,4                  RR3.4                  RR3,4                     RR3,4                       RR3,4
                  (95% CI)         N2    (95% CI)         N2    (95% CI)             N2   (95% CI)            N2      (95% CI)         N2   NHL subtype
                                                                                                                                            Homo-
                                                                                                                                            geneity

                                                                                                                                            Test

                                                                                                                                            (p-value)

 None             1.0 (ref)        108   1.0 (ref)        89    1.0 (ref)            41   1.0 (ref)           38      1.0 (ref)        64
 Low              1.1 (0.6–2.0)    15    0.6 (0.3–1.2)    8     1.3 (0.6–2.7)        8    0.9 (0.3–2.7)       5       1.4 (0.8–2.7)    13
 High             0.8 (0.5–1.5)    15    1.0 (0.5–2.1)    8     1.0 (0.5–2.4)        8    0.5 (0.2–1.7)       4       3.1 (1.5–6.2)    12
                  p trend = 0.53         p trend = 0.99         p trend = 0.88            p trend = 0.28              p trend = 0.002       0.10
 Phorate
 None             1.0 (ref)        48    1.0 (ref)        37    1.0 (ref)            20   1.0 (ref)           16      1.0 (ref)        36
 Low              1.0 (0.6–1.9)    14    1.4 (0.7–2.7)    15    1.1 (0.4–3.0)        5    0.9 (0.3–2.2)       6       0.7 (0.3–1.8)    6
 High             0.8 (0.4–1.6)    11    0.7 (0.3–2.1)    4     0.8 (0.3–2.2)        5    1.1 (0.4–3.5)       4       0.8 (0.3–2.4)    4
                  p trend = 0.51         p trend = 0.80         p trend = 0.67            p trend = 0.91              p trend = 0.73        0.77
 Terbufos
 None             1.0 (ref)        72    1.0 (ref)        63    1.0 (ref)            31   1.0 (ref)           19      1.0 (ref)        59
 Low              1.3 (0.8–2.0)    32    1.2 (0.8–1.9)    29    1.6 (0.9–3.1)        15   1.8 (0.9–3.6)       17      1.1 (0.6–1.9)    12
 High             1.6 (1.0–2.5)    31    1.0 (0.5–2.0)    12    0.8 (0.4–1.7)        10   1.6 (0.7–3.9)       8       1.3 (0.7–2.7)    5
                  p trend = 0.05         p trend = 0.90         p trend = 0.48            p trend = 0.29              p trend = 0.42        0.63
 Chlorinated Insecticides
 Aldrin
 None             1.0 (ref)        53    1.0 (ref)        46    1.0 (ref)            22   1.0 (ref)           20      1.0 (ref)        34
 Low              1.0 (0.5–2.0)    11    xxx              2     1.2 (0.4–3.8)        4    0.4 (0.1–1.5)       3       2.1 (0.9–4.7)    8
 High             1.0 (0.5–2.0)    10    xxx              3     0.8 (0.3–2.5)        4    1.1 (0.3–3.9)       3       1.2 (0.5–3.2)    6
                  p trend = 0.70         p trend = xxx          p trend = 0.21            p trend = 0.67              p trend = 0.40        0.98
 Chlordane
 None             1.0 (ref)        48    1.0 (ref)        42    1.0 (ref)            20   1.0 (ref)           21      1.0 (ref)        32
 Low              1.8 (1.0–3.1)    16    1.0 (0.5–2.2)    8     1.7 (0.7–4.3)        6    xxx                 2       1.7 (0.9–3.3)    13
 High             1.5 (0.7–3.3)    8     1.4 (0.6–3.3)    7     1.3 (0.4–4.6)        3    xxx                 2       0.7 (0.2–2.2)    3
                  p trend = 0.34         p trend = 0.69         p trend = 0.70            p trend = xxx               p trend = 0.57        0.85
 DDT
 None             1.0 (ref)        42    1.0 (ref)        34    1.0 (ref)            17   1.0 (ref)           16      1.0 (ref)        28
 Low              1.0 (0.5–1.8)    16    1.6 (0.4–3.1)    2     3.3 (1.4–8.1)        9    0.4 (0.3–2.5))      5       1.2 (0.6–2.6)    10
 High             2.6 (1.3–4.8)    15    1.4 (0.6–3.5)    3     1.1 (0.3–3.6)        4    2.1 (0.7–6.5)       5       0.8 (0.4–1.8)    9
                  p trend = 0.04         P trend = 0.17         p trend = 0.80            p trend = 0.64              p trend = 0.37        0.44
 Heptachlor
 None             1.0 (ref)        58    1.0 (ref)        47    1.0 (ref)            24   1.0 (ref)           21      1.0 (ref)        40
 Low              1.1 (0.5–2.3)    9     xxx              3     xxx                  2    xxx                 3       1.3 (0.4–3.8)    4
 High             1.4 (0.7–3.0)    9     xxx              1     xxx                  1    xxx                 2       1.2 (0.4–3.6)    4
                  p trend = 0.16         p trend = xxx          p trend = xxx             p trend = xxx               p trend = 0.91        0.68
 Lindane
 None             1.0 (ref)        57    1.0 (ref)        49    1.0 (ref)            16   1.0 (ref)           21      1.0 (ref)        43
 Low              1.2 (0.6–2.5)    10    0.6 (0.2–1.7)    4     4.9 (1.9–12.6)       6    xxx                 2       xxx              3
 High             2.6 (1.2–5.6)    9     2.0 (0.6–6.5)    3     3.6 (1.4–9.5)        6    xxx                 1       xxx              2
                  p trend = 0.13         p trend = 0.96         p trend = 0.04            p trend = xxx               p trend = xxx         0.54
 Toxaphene
 None             1.0 (ref)        68    1.0 (ref)        47    1 (ref)              23   1.0 (ref)           22      1.0 (ref)        40




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 Table 4. Cont.


 Insecticides

                    SLL, CLL, MCL          Diffuse Large B-cell     Follicular B-cell           Other B-cell types          Multiple Myeloma

                    RR3,4                  RR3.4                    RR3,4                       RR3,4                       RR3,4
                    (95% CI)         N2    (95% CI)         N2      (95% CI)              N2    (95% CI)            N2      (95% CI)         N2        NHL subtype
                                                                                                                                                       Homo-
                                                                                                                                                       geneity

                                                                                                                                                       Test

                                                                                                                                                       (p-value)

 Low                0.9 (0.4–2.3)    5     1.3 (0.5–3.3)    5       xxx                   2     xxx                 3       0.7 (0.2–2.0)    4
 High               0.4 (0.1–1.6)    2     0.9 (0.3–3.0)    3       xxx                   2     xxx                 2       0.7 (0.2–2.9)    2
                    p trend = 0.08         p trend = 0.77           p trend = xxx               p trend = xxx               p trend = 0.64             0.34
 Fungicides
 Captan
 None               1.0 (ref)        118   1.0 (ref)        91      1.0 (ref)             52    1.0 (ref)           39      1.0 (ref)        76
 Low                0.9 (0.4–1.9)    7     1.1 (0.5–2.4)    7       xxx                   2     xxx                 3       1.4 (0.5–3.4)    5
 High               1.1 (0.5–2.6)    7     0.7 (0.1–3.1)    4       xxx                   1     xxx                 2       1.2 (0.5–2.9)    5
                    p trend = 0.78         p trend = 0.58           p trend = xxx               p trend = xxx               p trend = 0.75             0.92
 Chlorothalonil
 None               1.0 (ref)        135   1.0 (ref)        107     1.0 (ref)             60    1.0 (ref)           50      1.0 (ref)        84
 Low                0.9 (0.4–2.3)    5     1.1 (0.4–3.1)    4       xxx                   3     2xxx                1       1.1 (0.4–2.8)    5
 High               1.1 (0.4–3.3)    4     0.3 (0.1–1.2)    2       xxx                   2     2xxx                1       0.7 (0.6–2.3)    3
                    p trend = 0.83         p trend = 0.09           p trend = xxx               p trend = xxx               p trend = 0.56             0.76
 Metalaxyl
 None               1.0 (ref)        60    1.0 (ref)        45      1.0 (ref)             25    1.0 (ref)           23      1.0 (ref)        39
 Low                2.8 (1.4–5.8)    9     1.1 (0.4–2.6)    7       xxx                   3     2xxx                2       0.4 (0.1–1.1)    4
 High               1.1 (0.4–2.8)    6     1.0 (0.4–2.7)    5       xxx                   2     2xxx                1       1.1 (0.4–3.2)    4
                    p trend = 0.99         p trend = 0.97           p trend = xxx               p trend = xxx               p trend = 0.87             0.92
 Maneb/
 Mancozeb
 None               1.0 (ref)        69    1.0 (ref)        49      1.0 (ref)             25    1.0 (ref)           26      1.0 (ref)        41
 Low                2.1 (0.7–6.0)    4     4.0 (1.4–11.6)   4       xxx                   2     2xxx                0       1.0 (0.4–2.5)    5
 High               1.2 (0.3–4.0)    3     0.9 (0.3–3.1)    3       2xxx                  1     2xxx                0       2.2 (0.5–9.5)    2
                    p trend = 0.84         p trend = 0.74           p trend = xxx               p trend = xxx               p trend = 0.28             0.82
 Fumigant
 Methyl Bromide
 None               1.0 (ref)        126   1.0 (ref)        86      1.0 (ref)             58    1.0 (ref)           44      1.0 (ref)        76
 Low                1.1 (0.5–2.2)    9     4.0 (2.2–7.4)    15      1.4 (0.5–4.2)         4     3.6 (1.3–9.8)       5       1.0 (0.5–2.1)    8
 High               0.8 (0.4–1.8)    8     1.0 (0.5–2.1)    11      0.3 (0.1–1.1)         3     1.3 (0.3–5.0)       3       0.8 (0.4–1.8)    8
                    p trend = 0.58         p trend = 0.67           p trend = 0.08              p trend = 0.56              p trend = 0.63             0.59

 1
  During the period from enrollment (1993–1997) to December 31, 2010 in NC and December 31, 2011 in Iowa.
 2
  Numbers of cases in columns do not sum to total number of NHL cases (n = 523) due to missing data. Ever/never use of all 26 pesticides (table 3) do not always match
 with exposure-response data in table 4 because of missing data to calculate lifetime-days of use.
 3
  Adjusted for age (,45, 45–49, 50–54, 55–59, 60–64, 65–69, $70), State (NC vs. IA), Race (White vs. Black), AHS herbicides (in tertiles of total herbicide use-days).
 Significant RR and 95% confidence limits are bolded.
 4
  RR was not calculated if the number of exposed cases for any NHL subtype was ,6 and these cells are marked XXX. Four pesticides included in Table 2 (i.e., aldicarb,
 benomyl, dieldrin and parathion) were not included in Table 4 because no NHL subtype included$6 cases of a specific cell types with lifetime-days of exposure.
 doi:10.1371/journal.pone.0109332.t004


risk estimates (i.e., narrower confidence intervals) when we                             always correspond to a significant excess risk among those who
included phase 2 imputed data (n = 54,306) (data not shown).                             ever used the same pesticide. For chemicals for which the detailed
Lagging exposures by five years did not meaningfully change the                          information was only asked about in the take-home questionnaire,
association between lindane or DDT and total NHL (data not                               we evaluated potential differences between the ever/never
shown). The significant exposure-response trends linking use of a                        analyses based on the enrolment questionnaire and data from
particular pesticide to NHL and certain NHL subtypes did not                             the same sub-set of participants who completed the exposure-


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response in the take-home questionnaire and found no meaningful               prior to enrollment; 12%, 8.7% and 2.3% responding to the take-
differences in the results. We also evaluated the impact of using an          home questionnaire reported their first use occurred prior to the
updated definition of NHL; when using the original ICD-O-3                    1960s, during the 1960s, and during the 1970s, respectively. The
definition of NHL19, lifetime-days of lindane use remained                    National Toxicology Program classifies DDT as ‘‘reasonably
significantly associated with NHL risk (RR = 1.0 (ref), 1.3 (0.7–             anticipated to be a human carcinogen’’ [31] and IARC classifies
2.6), 1.2 (0.6–2.8), 2.7 (1.3–5.4), p trend = 0.006). The trend               DDT as a ‘‘possible human carcinogen (2B)’’ [12], both
between total NHL and lifetime-days of DDT, however, was less                 classifications were based on experimental studies in which excess
clear and not statistically significant (RR = 1.0 (ref) 1.3 (0.9–1.8),        liver tumors were observed in two rodent species. Epidemiology
1.1 (0.5–2.1), 1.4 (0.8–2.6), p trend = 0.32) [Table S3 in File S1].          data on the carcinogenic risk of DDT is inconsistent. NHL was not
Carbaryl and diazinon showed non-significant trends with the                  associated with use of DDT in a pooled analysis of three case-
older definition of NHL, but not with the newer definition used               control studies in the U.S. where information on exposure was
here.                                                                         obtained from farmers by questionnaire [32]. There also was no
                                                                              association between the use of DDT and NHL in our study when
Discussion                                                                    we used an earlier definition of NHL [18], suggesting some of the
                                                                              inconsistency may be due to disease definition. In the large
   A significant exposure–response trend for total NHL was                    Epilymph study, no meaningful links between DDT and the risk of
observed with increasing lifetime-days of use for two organochlo-             NHL, or diffuse large B cell lymphoma were observed, and only
rine insecticides, lindane and DDT, although RRs from ever/                   limited support was found for a link to CLL [33], although a case-
never comparisons were not elevated. On the other hand, terbufos              control study of farmers in Italy suggested increased risk of NHL
use showed a significant excess risk with total NHL in ever vs.               and CLL with DDT exposure [34]. NHL was not associated with
never exposed analysis, but displayed no clear exposure-response
                                                                              serum levels of DDT in a prospective cohort study from the U.S.
trend. Several pesticides showed significant exposure-response
                                                                              [35], but NHL was associated with the DDT-metabolite p, p’-
trends with specific NHL subtypes however, when polytomous
                                                                              DDE, as well as chlordane and heptachlor-related compounds
models were used to test the difference in parametric estimates of
                                                                              (oxychlordane, heptachlor epoxide) and dieldrin, in a study with
trend among the five NHL subtypes, there was no evidence of
                                                                              exposure measured in human adipose tissue samples [36]. In a
heterogeneity in the sub-types for specific chemicals. The subtype
                                                                              Danish cohort, a higher risk of NHL was associated with higher
relationships that looked particularly interesting were DDT and
                                                                              prediagnostic adipose levels of DDT, cis-nonachlor, and oxy-
terbufos with the SLL/CLL/MCL subtype, lindane and diazinon
                                                                              chlordane [37]. In a Canadian study, analytes from six insecti-
with the follicular subtype, and permethrin with MM. These
                                                                              cides/insecticide metabolites (beta-hexachlorocyclohexane, p, p’-
pesticide-NHL links should be evaluated in future studies.
                                                                              dichloro-DDE, hexachlorobenzene (HCB), mirex, oxychlordane
   Lindane (gamma-hexachlorocyclohexane) is a chlorinated
                                                                              and transnonachlor) were linked with a significant increased risk
hydrocarbon insecticide. Production of lindane was terminated
                                                                              with NHL [38]. However, in an analysis of plasma samples from a
in the United States in 1976, but imported lindane was used to
                                                                              case-control study in France, Germany and Spain, the risk of NHL
treat scabies and lice infestation and for agricultural seed
                                                                              did not increase with plasma levels of hexachlorobenzene, beta-
treatment [21] until its registration was cancelled in 2009 [22],
                                                                              hexachlorobenzene or DDE [39]. In this analysis, NHL was
the same year production was banned worldwide [23]. In our
                                                                              significantly associated with reported use of DDT, but not with the
study, 3,410 people reporting ever using lindane (6%) prior to
                                                                              other organochlorine insecticides studied (i.e., aldrin, chlordane,
enrollment, 433 reported use at the phase 2 questionnaire (1%),
                                                                              dieldrin, heptachlor, toxaphene). Our findings add further support
indicating that use had dropped substantially. Oral administration
                                                                              for an association between DDT and total NHL and our results on
of lindane has increased the incidence of liver tumors in mice and
less clearly, thyroid tumors in rats [24]. Lindane produces free              SLL/CLL/MCL are novel and should be further explored.
radicals and oxidative stress (reactive oxygen species [ROS]) [25]               Permethrin is a broad-spectrum synthetic pyrethroid pesticide
and has been linked with chromosomal aberrations in human                     widely used in agriculture and in home and garden use as an
peripheral lymphocytes in vitro [26].                                         insecticide and acaricide, as an insect repellant, and as a treatment
   Lindane has been linked with NHL in previous epidemiologic                 to eradicate parasites such as head lice or mites responsible for
studies. A significant association between lindane use and NHL                scabies [40]. This synthetic pyrethroid was first registered for use
was observed in a pooled analysis of three population-based case-             in the United States in 1979 [40]. The U.S. Environmental
control studies conducted in the Midwestern US, with stronger                 Protection Agency classified permethrin as ‘‘likely to be carcino-
relative risks observed for greater duration and intensity of use             genic to humans’’ largely based on the observed increase incidence
[27]. NHL was also associated with lindane use in a Canadian                  of benign lung tumors in female mice, liver tumors in rats and liver
case-control study [28]. Lindane was significantly associated with            tumors in male and female mice [41]. Permethrin was not
NHL risk in an earlier report from the AHS [29]. We are not                   associated with NHL overall in our study, nor in pooled case-
aware of any previous study that assessed the association between             control studies of NHL from the U.S (the NHL definition in use at
a NHL subtype and lindane use. The exposure-response pattern                  the time of the study did not include MM) [42]. In our analysis,
with total NHL and the follicular lymphoma subtype indicates a                however, the risk of MM increased significantly with lifetime-days
need for further evaluation of lindane and NHL.                               of exposure to permethrin, as had been noted in an earlier analysis
   DDT is an organochlorine insecticide that was used with great              of AHS data [43]. We are unaware of other studies that have
success to control malaria and typhus during and after World War              found this association.
II [29] and was widely used for crop and livestock pest control in               Terbufos is an organophosphate insecticide and nematicide first
the United States from the mid-1940s to the 1960s [30]. Its                   registered in 1974 [44]. The EPA classifies terbufos as Group E,
registration for crop use was cancelled in the US in 1972 [30] and            i.e., ‘‘Evidence of Non-Carcinogenicity for Humans’’ [44]. We
banned worldwide for agricultural use in 2009, but continues to be            found some evidence for an association between terbufos use and
used for disease vector control in some parts of the world [23]. In           NHL, particularly for the SLL/CLL/MCL subtype. NHL was not
our study, 12,471 participants (23%) reported ever using DDT                  associated with terbufos in the pooled case-control studies from the


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U.S. [42] but there was a non-significant association between                Lindane was significantly associated with the follicular lymphoma
terbufos and small cell lymphocytic lymphoma [10].                           subtype and this subtype was included in the older and newer
    Diazinon is an organophosphate insecticide registered for a              definition of NHL. No other pesticides were significantly
variety of uses on plants and animals in agriculture [45]. It was            associated with NHL under the old definition (Table S3 in File S1).
commonly used in household insecticide products until the EPA                   Although this is a large prospective study, limitations should be
phased out all residential product registrations for diazinon in             acknowledged. A small number of cases exposed to some specific
December 2004 [45.46]. In an earlier evaluation of diazinon in the           pesticides could lead to false positive or negative findings. We also
AHS, a significant exposure-response association was observed for            had reduced statistical power to evaluate some pesticides for total
leukemia risk with lifetime exposure-days [47]. While there was no           days of use and intensity-weighted days of use because some
link between diazinon and NHL overall in this analysis, there was            participants did not complete the phase one take-home question-
a statistically significant exposure-response association between            naire and the tests of homogeneity between specific pesticides and
diazinon and the follicular lymphoma subtype and an association              specific NHL subtypes were underpowered. Some chance
with the SLL/CLL/MCL subtype that was not statistically                      associations could occur because of multiple testing, i.e., a number
significant. Diazinon was previously associated with NHL in                  of pesticides, several NHL subtypes, and more than one exposure
pooled case-control studies from the U.S. and particularly with              metric. Despite the generally high quality of the information on
SLL [10].                                                                    pesticide use provided by AHS participants [48,50], misclassifica-
    Several other insecticides, fungicides and fumigants cited in            tion of pesticide exposures can occur and can have a sizeable
recent reviews of the pesticide-cancer literature suggested etiolog-         impact on estimates of relative risk, which in a prospective cohort
ical associations with total NHL [8,9], these include: oxychlor-             design would tend to produce false negative results [49].
dane, trans-nonachlor, and cis-nonachlor which are metabolites of
chlordane; and dieldrin and toxaphene among NHL cases with                   Conclusion
t(14,18) translocations. We did not find a significant association              Our results showed pesticides from different chemical and
between chlordane and total NHL nor with any NHL subtype, but                functional classes were associated with an excess risk of NHL and
we did not have information about chlordane metabolites to make              NHL subtypes, but not all members of any single class of pesticides
a more direct comparison. Similarly we did not observe a                     were associated with an elevated risk of NHL or NHL subtypes,
significant association between dieldrin nor toxaphene and total             nor were all chemicals of a class included on our questionnaire.
NHL nor with any NHL subtypes. Mirex (1,3-cyclopentadiene),                  Significant pesticide associations were between total NHL and
an insecticide, and hexachlorobenzene, a fungicide, were also                reported use of lindane and DDT. Links between DDT and
associated with NHL risk [8,9] but we did not examine these                  terbufos and SLL/CLL/MCL, lindane and diazinon and follicular
compounds in the AHS.                                                        lymphoma, and permethrin and MM, although based on relatively
    This study has a number of strengths. It is a large population of        small numbers of exposed cases, deserve further evaluation. The
farmers and commercial pesticide applicators who can provide                 epidemiologic literature on NHL and these pesticides is inconsis-
reliable information regarding their pesticide use history [48].             tent and although the findings from this large, prospective cohort
Information on pesticide use and application practices was                   add important information, additional studies that focus on NHL
obtained prior to onset of cancer. An algorithm that incorporated            and its subtypes and specific pesticides are needed. The findings
several exposure determinants which predicted urinary pesticide              from this large, prospective cohort add important new information
levels was used to develop an intensity-weighted exposure metric             regarding the involvement of pesticides in the development of
in our study [20]. Exposure was ascertained prior to diagnosis of            NHL. It provides additional information regarding specific
disease, which should eliminate the possibility of case-response bias        pesticides and NHL overall and some new leads regarding
[14]. Because of the detailed information available on pesticide             possible links with NHL subtypes that deserve evaluation in future
use, we were able to assess the impact for the use of multiple               studies.
pesticides. For example, we evaluated total pesticide use-days, and
specific pesticides found to be associated with NHL or its subtypes          Supporting Information
in the AHS. We found no meaningful change in the associations
                                                                             File S1 This file contains Table S1, Table S2, and Table
with DDT, lindane, permethrin, diazinon and terbufos from such
                                                                             S3. Table S1, Frequency of NHL in Agricultural Health Study
adjustments. Information on many potential NHL risk factors was
                                                                             applicators using New (Interlymph hierarchical classification of
available and could be controlled in the analysis.
                                                                             lymphoid neoplasms) and Older Definitions (ICD-O-3). Table S2,
    Most epidemiological investigations of NHL prior to 2007 [17]
                                                                             Pesticides included in the Agricultural Health Study question-
did not include CLL and MM as part of the definition. These two
                                                                             naires by Chemical/Functional Class. Table S3, Pesticide
subtypes made up 37% (193/523) of the NHL cases in this
                                                                             exposure (lifetime-days) and adjusted risks of total NHL incidence
analysis. This is a strength of our study in that the definition of
                                                                             (Older definition [ICD-O-3]).
NHL used here is based on the most recent classification system
                                                                             (DOC)
[16,17] and will be relevant for comparisons with future studies.
On the other hand, the inclusion of MM and CLL in the recent
definition of NHL makes comparisons of our findings with earlier             Acknowledgments
literature challenging, because the NHL subtypes may have                    Disclaimer: The findings and conclusions in this report are those of the
different etiologies. For example, DDT was not significantly                 author(s) and do not necessarily represent the views of the National
associated with NHL using the older definition, but was                      Institute for Occupational Safety and Health. The United States
significantly associated with the NHL using the most recent                  Environmental Protection Agency through its Office of Research and
                                                                             Development partially funded and collaborated in the research described
definition of NHL because of its association with the SLL/CLL/
                                                                             here under Contracts 68-D99–011 and 68-D99–012, and through
MCL subtype (Table S1 in File S1). On the other hand, carbaryl               Interagency Agreement DW-75–93912801–0. It has been subjected to
and diazinon were associated with the old definition of NHL                  Agency review and approved for publication.
(although non-significantly) but not with the new definition.                  This work was supported by the Intramural Research Program of the
Lindane, however, was associated with both definitions of NHL.               NIH, National Cancer Institute, Division of Cancer Epidemiology and


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Genetics (Z01CP010119) and the National Institutes of Environmental                          Author Contributions
Health Science (Z01ES049030). The authors have no conflicts of interest in
connection with this manuscript.                                                             Conceived and designed the experiments: MCA DPS AB. Performed the
  Ms. Marsha Dunn and Ms. Kate Torres, (employed by Westat, Inc.                             experiments: MCA CFL KT CJH. Analyzed the data: MCA JNH CFL
Rockville, Maryland) are gratefully acknowledged for study coordination.                     CJH KHB JB DWB KT DPS JAH SK GA JHL AB LEB. Contributed
The ongoing participation of the Agricultural Health Study participants is                   reagents/materials/analysis tools: MCA JB DWB CFL. Wrote the paper:
indispensable and sincerely appreciated.                                                     MCA LEBF JNH CFL CJH KT AB DWB JHL. Designed the software: JB
                                                                                             DWB.

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